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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


      MICHAEL NORRIS, et al.,
                                                       Civil Case No.:
                                    Plaintiff,
                                                       Removed From:
                      v.
                                                       Circuit Court of the 11th Judicial Circuit in
      THOMAS BRADY et al.,                             and for Miami-Dade County, Florida
                                                       NO. 2022-022900-CA-01
                                    Defendant.


                             DEFENDANTS’ NOTICE OF REMOVAL

           Pursuant to 28 U.S.C. §§ 1331, 1334, 1367, 1441, 1446, and 1452; 15 U.S.C. § 78aa(a);

  and Fed. R. Bankr. P. 9027, Defendants Thomas Brady, Kevin O’Leary, and David Ortiz hereby

  remove this case, and all claims and causes of action therein, from the Circuit Court of the 11th

  Judicial Circuit, in and for Miami-Dade County, Florida, to the United States District Court for the

  Southern District of Florida 1:

                                             BACKGROUND

           1.     On November 11, 2022, and November 14, 2022, FTX Trading Ltd. (“FTX”) and

  101 affiliated debtors (collectively the “FTX Debtors”) commenced bankruptcy proceedings in the

  United States Bankruptcy Court for the District of Delaware by filing petitions for voluntary relief




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    Undersigned counsel are aware of Local Rule 87.2, which directs that notices of removal filed
  pursuant to 28 U.S.C. § 1452(a) are to be filed with the Clerk of the Bankruptcy Court. Because
  the instant Notice of Removal asserts jurisdiction under both 28 U.S.C. § 1334 and 28 U.S.C.
  § 1331, and because of the related first-filed action in this Court (Garrison v. Bankman-Fried, No.
  22-cv-23753), Defendants are filing the Notice of Removal in this Court in the interest of judicial
  economy.
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  under chapter 11 of title 11 of the U.S. Code (“Chapter 11 Cases”), captioned In re FTX Trading

  Ltd., No. 22-11068.

         2.      On November 15, 2022, Plaintiffs’ counsel filed a putative federal class action in

  this Court based on the same set of facts as the instant case and raising identical claims against

  Defendants and others, captioned Garrison v. Bankman-Fried, No. 22-cv-23753. Defendants

  intend to file a Notice of Related Case with respect to Garrison. 2

         3.      On December 2, 2022, Plaintiff Michael Norris filed a civil action against Nishad

  Singh and David Ortiz in the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade

  County, Florida, captioned Norris v. Singh, No. 2022-022900-CA-01.            The original Norris

  complaint was never served on any of the present Defendants.

         4.      Just days later, on December 5, 2022, Norris filed an amended complaint, adding

  Bo Yang, Shengyun Huang, Vijeth Shetty, Michael Livieratos, and Brandon Rowan as plaintiffs,

  adding Thomas Brady and Kevin O’Leary as defendants, and dismissing defendant Nishad Singh,

  who is named as one of the “FTX Insider Defendants” in the operative Garrison pleading. The

  action was restyled “Norris, et al. v. Brady, et al.”




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    Prior to and subsequent to filing the Norris action, Plaintiffs’ counsel filed three federal class
  actions raising identical claims against Defendants and others in this Court. The first of these
  cases, Garrison, was filed on November 15, 2022, and assigned to Judge Moore. The second,
  captioned Kavuri v. Bankman-Fried, No. 22-cv-23817, was filed on November 21, 2022, and
  assigned to Judge Gayles. The third, captioned Podalsky v. Bankman-Fried, No. 22-cv-23983,
  was filed on December 7, 2022, and assigned to Judge Bloom. The next day, on December 8,
  2022, the Garrison and Kavuri plaintiffs voluntarily dismissed their class action complaints. But
  on December 9, 2022, Judge Bloom sua sponte transferred the Podalsky class action to Judge
  Moore for all further proceedings. The Podalsky and Garrison class actions were consolidated
  under the original docket number in Garrison, No. 22-cv-23753, and the plaintiffs in both cases
  were directed to file an amended complaint (the “Federal Class Action”). On December 16, 2022,
  the plaintiffs in the Federal Class Action filed an amended complaint, captioned Garrison v.
  Bankman-Fried, No. 22-cv-23753.
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         5.     On December 27, 2022, Plaintiffs’ counsel sent Mr. Brady a Notice of

  Commencement of Action and Waiver of Service of Process, and requested that he waive service

  of a summons and the Amended Complaint. Pursuant to Fla. R. Civ. P. 1.070(i)(2)(F), Mr. Brady

  returned the Waiver of Service of Process on January 17, 2023.

         6.     Similarly, on January 4, 2023, Plaintiffs’ counsel sent Mr. O’Leary a Notice of

  Commencement of Action and Waiver of Service of Process. Mr. O’Leary returned the Waiver

  of Service of Process on January 24, 2023.

         7.     Finally, on January 11, 2023, Plaintiffs’ counsel sent Mr. Ortiz a Notice of

  Commencement of Action and Waiver of Service of Process. Mr. Ortiz returned the Waiver of

  Service of Process on January 25, 2023.

         8.     On January 31, 2023, Defendants filed a motion to stay this proceeding in favor of

  Garrison based on Florida’s first-filed rule. Defendants intend to pursue a stay or consolidation

  with Garrison in federal court, following removal, under the federal analogue.

         9.     Pursuant to 28 U.S.C. § 1446(a) and Fed. R. Bankr. P. 9027(a)(1), a copy of the

  Amended Complaint is attached as Exhibit A and a copy of all other “process, pleadings, and

  orders served upon” Defendants is attached as Exhibit B.

         10.    This Notice of Removal is timely under 28 U.S.C. § 1446(b) and Fed. R. Bankr. P.

  9027(a)(3).

         11.    This case asserts claims identical to the claims raised in the Garrison case asserting

  that alleged YouTube videos and other advertisements promoting the FTX platform allegedly

  assisted certain of the now-bankrupt FTX Debtors’ offer and sale of yield-bearing accounts

  (“YBAs”) on the FTX platform.




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         12.     The Amended Complaint names as Defendants Thomas Brady, Kevin O’Leary, and

  David Ortiz, individuals who are all alleged to have appeared in commercials or other

  advertisements relating to certain FTX entities.

         13.     Plaintiffs indicate (incorrectly) that the SEC has found that YBAs are “unregistered

  securities” and that FTC regulations required additional disclosures in the advertisements. Ex. A

  ¶¶ 3, 6. Plaintiffs do not name the FTX Debtors as defendants, yet they request a declaration

  finding both that the YBAs are securities under federal law and that Defendants breached FTC

  regulations governing celebrity endorsement of cryptocurrencies and related products. Id. ¶¶ 6,

  26; see id. ¶ 101. Plaintiffs seek “an expedited declaratory ruling for deciding the legal question

  of whether the YBA offered and sold to Plaintiffs . . . constituted an unregistered security.” Id.

  ¶ 36; see id. ¶¶ 3, 7, 12. Indeed, Plaintiffs have taken the position that resolution of this question—

  even without any of the FTX Debtors as parties—will advance “cryptocurrency litigation across

  the globe.” Ex. C (Pl. Vijeth Shetty’s Mot. for Partial Summ. J.) at 1.

                                           JURISDICTION

         14.     This Court has jurisdiction over this case under 28 U.S.C. §§ 1331 and 1334 and

  the Exchange Act of 1934, 15 U.S.C. § 78aa(a), because (1) Plaintiffs’ claims are “related to”

  FTX’s bankruptcy proceedings, 28 U.S.C. § 1334(b), and (2) Plaintiffs’ purported state law claims

  “necessarily raise a stated federal issue, actually disputed and substantial, which a federal forum

  may entertain,” Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314

  (2005); see also Gunn v. Minton, 568 U.S. 251, 258 (2013). This case is therefore removable

  under 28 U.S.C. §§ 1441, 1446, and 1452.




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  I.     This Court Has Jurisdiction Under 28 U.S.C. § 1334.

         15.     Federal courts have original jurisdiction over “all civil proceedings . . . arising in

  or related to cases” under the Bankruptcy Code. 28 U.S.C. § 1334(b). “‘[R]elated to’ jurisdiction”

  under § 1334(b) “is ‘extremely broad,’” In re CDC Corp., 610 F. App’x 918, 921 (11th Cir. 2015)

  (citation omitted), and turns on “whether the outcome of the proceeding could conceivably have

  an effect on the estate being administered in bankruptcy,” In re Lemco Gypsum, Inc., 910 F.2d

  784, 788 (11th Cir. 1990) (citation omitted). An action that “could alter the debtor’s rights,

  liabilities, options, or freedom of action (either positively or negatively)” and “impacts upon the

  handling and administration of the bankrupt estate” meets this criterion. Id. (citation omitted).

  “The proceeding need not necessarily be against the debtor or against the debtor’s property.” Id.

         16.     This Court has “related to” jurisdiction over the instant state court action for several

  reasons, including because certain of the FTX Debtors must indemnify and defend Defendants for

  the conduct alleged in the Amended Complaint, and certain Defendants’ agreements with certain

  of the FTX Debtors entitle them to insurance proceeds.

         17.     Specifically, Defendants entered into agreements with certain of the FTX Debtors

  in consideration for their promotional activities. In these contracts, certain of the FTX Debtors

  agreed to indemnify Defendants against certain expenses, including expenses incurred in

  connection with the defense of claims that—like Plaintiffs’ claims here—result from or arise out

  of any acts or statements made at the FTX Debtors’ request or in good-faith reliance on information

  provided by the FTX Debtors. Defendants intend to file proof of claims in the Chapter 11 Cases

  to assert claims for, among other things, contractual indemnification and reimbursement of

  expenses incurred in connection with this action. As a result, the continued prosecution of these

  claims will result in further liquidation of claims against the FTX Debtors’ estates and have a direct



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  impact on the administration of the Chapter 11 Case. See Lemco Gypsum, 910 F.2d at 788 (related

  to jurisdiction exists where the outcome of a proceeding “could conceivably have an effect on the

  estate being administered in bankruptcy” (citation omitted)).

         18.     Independently, agreements with FTX Debtors entitle certain of Defendants to

  insurance proceeds under certain of the FTX Debtors’ insurance policies. To the extent those

  insurance proceeds are property of the estate, then any Defendants’ entitlement to reimbursement

  “poses the specter of direct impact on the res of the bankrupt estate,” which alone is sufficient to

  establish “related to” jurisdiction. In re Quigley Co., Inc., 676 F.3d 45, 53-54, 58 (2d Cir. 2012)

  (finding “related to” jurisdiction “where litigation of the [lawsuits against non-debtor] would

  almost certainly result in the drawing down of insurance policies that are part of the bankruptcy

  estate”); see also, e.g., In re A.H. Robins Co., Inc., 788 F.2d 994, 1008 (4th Cir. 1986) (finding

  “related to” jurisdiction over claims against non-debtors in part because such claims, if successful,

  would reduce insurance funds available to debtor’s estate).

         19.     For these reasons, this Court has “related to” jurisdiction over the instant action.

  II.    The Court Also Has Federal Question Jurisdiction Under 28 U.S.C. § 1331.

         20.     Federal courts also have “arising under” jurisdiction over state law claims that

  implicate significant federal issues. See Grable, 545 U.S. at 312-14. “[F]ederal jurisdiction over

  a state law claim will lie if a federal issue is: (1) necessarily raised, (2) actually disputed,

  (3) substantial, and (4) capable of resolution in federal court without disrupting the federal-state

  balance approved by Congress.” Gunn, 568 U.S. at 258. All of these requirements are met.

         21.     The Amended Complaint on its face necessarily raises a federal issue which is

  actually disputed: whether the YBAs are “securities” under federal law. Ex. A ¶ 6; see Grable,

  545 U.S. at 312-14; Gunn, 568 U.S. at 258.               Plaintiffs allege that Defendants made



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  “misrepresentations and omissions” that induced them “to purchase[] the YBA[s] and/or execute[]

  trades” on the FTX platform, Ex. A ¶¶ 27-32, and they seek “an order declaring that the YBAs are

  securities required to be registered with the SEC,” id. ¶ 101 (emphasis added); see also id. ¶¶ 6,

  26. Indeed, Plaintiffs specifically request that the question of whether YBAs are securities be

  decided under “the United States securities laws.” Id. ¶ 55; see also id. ¶¶ 6, 54. The question of

  federal law is thus the pleaded basis for Plaintiffs’ request for affirmative relief in their declaratory

  judgment count, and Plaintiffs could have brought their claim in federal court under Section 10(b)

  of the Exchange Act of 1934, 15 U.S.C. § 78j(b), in a coercive action for damages or an injunction. 3

          22.     Nor can there be any ambiguity that this question is actually disputed. Plaintiffs

  allege that a “common and identical question in this case” is “whether the SEC was initially

  correct, in finding that all of these YBAs are (or are not) the sale of ‘unregistered securities.’” Ex.

  A ¶ 12. But the SEC has yet to make any such finding, and the entities in possession of the

  evidence to resolve this question have declared bankruptcy. It is also precisely the same question

  at the crux of the Garrison action, which was filed first in this Court by the same counsel on behalf

  of a putative class that includes Plaintiffs as absent class members.

          23.     Adjudication of Plaintiffs’ Amended Complaint therefore necessarily requires a

  court to decide the disputed question whether the YBAs are securities under federal law. See, e.g.,

  Turbeville v. FINRA, 874 F.3d 1268, 1275 (11th Cir. 2017) (holding removal proper where

  resolution of state law claims “unavoidably involves answering federal questions” regarding

  interpretation of rules and regulations under the federal Exchange Act of 1934).




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    Cf. Compl. ¶¶ 257-66, Real v. Yuga Labs, Inc., No. 2:22-cv-08909 (C.D. Cal. Dec. 8, 2022), ECF
  No. 1 (asserting claim under Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), against
  individual defendants for alleged misrepresentations and omissions that induced the purchase of
  an alleged security).
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          24.     The federal question raised by the Amended Complaint is also plainly “substantial”

  under Grable given the “importance of the issue to the federal system as a whole.” Gunn, 568

  U.S. at 260. As Plaintiffs themselves argue, its resolution “will greatly advance litigation across

  the country.” Ex. C at 2. And they admit in the Amended Complaint, see Ex. A ¶¶ 3-4, that the

  status of cryptocurrency products under federal securities laws is the subject of active SEC scrutiny

  and federal litigation nationwide, including whether a celebrity’s promotional statement amounts

  to a misstatement or omission that induced the sale of an alleged security within the meaning of

  Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and whether such products are subject to

  regulation by the SEC. And as noted, the status of YBAs is the subject of the Garrison action

  pending in this Court, which raises the same claims against Defendants and others. Resolving the

  YBAs’ status under federal law therefore would be “dispositive of the case” and potentially

  “controlling in numerous other cases.” Empire Healthchoice Assur., Inc. v. McVeigh, 547 U.S.

  677, 700 (2006); see Grable, 545 U.S. at 315-16.

          25.     Nor would the exercise of federal jurisdiction upset “any congressionally approved

  balance of federal and state judicial responsibilities.” Grable, 545 U.S. at 314. Plaintiffs here are

  masters of their own complaint, and they specifically requested a declaration to establish an

  affirmative federal right. “[T]he interpretation and application of the federal securities laws . . .

  [are] areas of undisputed strong federal interest.” D’Alessio v. N.Y. Stock Exch., Inc., 258 F.3d 93,

  100 (2d Cir. 2001); see also Friedlander v. Troutman, Sanders, Lockerman & Ashmore, 788 F.2d

  1500, 1504 (11th Cir. 1986) (“The comprehensive scheme of statutes and regulations designed to

  police the securities industry is indicative of a strong federal interest.”).

          26.     Thus, removal of the entire case to federal court is proper. See 28 U.S.C. § 1367;

  City of Chicago v. Int’l Coll. of Surgeons, 522 U.S. 156, 165-66 (1997); Franchise Tax Bd. v.



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  Constr. Laborers Vacation Tr., 463 U.S. 1, 13 (1983) (noting that, if any cause of action pled by

  plaintiffs fell within original jurisdiction of federal courts, removal was proper as to whole case).

                                            *       *      *

            27.   Pursuant to 28 U.S.C. § 1446 and Fed. R. Bankr. P. 9027, Defendants will promptly

  serve a copy of this Notice on all parties and will file a copy of this Notice in Case No. 2022-

  022900 in the Circuit Court of the 11th Judicial Circuit, in and for Miami-Dade County, Florida.

            28.   Pursuant to Local Rule 7.2, Defendants will file in this Court and serve true and

  legible copies of any pending motions for which Defendants are the moving party, any opposition

  to such motions, and all documents previously filed in support of or in opposition to such motions

  within seven days of the filing of this Notice.

            29.   Pursuant to 28 U.S.C. § 1446(a) and Fed. R. Bankr. P. 9027(a)(1), this Notice of

  Removal is signed pursuant to Fed. R. Bankr. P. 9011 and contains a short and plain statement of

  the facts that entitle Defendants to remove.

            30.   Pursuant to 28 U.S.C. § 1446(b)(2)(A), Defendants all join in removal of this

  action.

            31.   Pursuant to Fed. R. Bankr. P. 9027(a)(1), Defendants do not consent to entry of

  final orders or judgments by the Bankruptcy Court.

                                           CONCLUSION

            WHEREFORE, pursuant to 28 U.S.C. §§ 1331, 1334, 1367, 1441, 1446, and 1452; 15

  U.S.C. § 78aa(a); and Fed. R. Bankr. P. 9027, Defendants Thomas Brady, Kevin O’Leary, and

  David Ortiz remove this action in its entirety from the Circuit Court of the 11th Judicial Circuit in

  and for Miami-Dade County, Florida to the United States District Court for the Southern District

  of Florida.



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   Dated: February 3, 2023
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                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 3, 2023, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF and further certify that the foregoing is also

   being served via electronic mail as addressed below.

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